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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 CECYLE KLAPHAKE,
                                                    Civil Action No. 17-1359
               Plaintiff,

        v.                                          Judge Cathy Bissoon
                                                    Magistrate Judge Robert Mitchell
 COLUMBIA GAS TRANSMISSION, LLC,
 COLUMBIA PIPELINE GROUP; and
 TRANSCANADA CORPORATION,

               Defendants.

                                   NOTICE OF APPEAL

       Notice is hereby given that Cecyle Klaphake, plaintiff in the above-named case, hereby

appeals to the United States Court of Appeals for the Third Circuit from the Memorandum Order

granting Defendants’ Motion for Judgment on the Pleadings, which was entered in this action on

the 16th day of October, 2018.



Dated: October 29, 2018
                                           Respectfully submitted,

                                           Cafardi Ferguson Wyrick Weis + Stotler llc


                                           By:     /s/ Steven E. Gibbs
                                                   Steven E. Gibbs
                                                   PA I.D. No. 314894

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                                                   Counsel for Cecyle Klaphake
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 29h day of October, 2018, I electronically filed the foregoing

NOTICE OF APPEAL with the Clerk of the Court using the CM/ECF system which will send

notification of such filing to all CM/ECF participants.



       October 29, 2018                                     /s/ Steven E. Gibbs
                                                            Steven E. Gibbs
